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    B2500A (12/15)




                                                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF NORTH CAROLINA



    In the matter of:                                            )
    Stacey M. Harris fdba Midnight Alley Cat                     )           Case No. 17−31608
                                  Debtor(s)                      )
                                                                 )           Chapter 7
    A. Burton Shuford, Trustee in Bankruptcy for Stacey M.       )
    Harris
                                  Plaintiff(s)                   )
        v.                                                       )
    Gregory Maurice Perry                                        )           Adv. Proc. No. 18−03046
                                  Defendant(s)                   )




                                      SUMMONS IN AN ADVERSARY PROCEEDING


    YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
    summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the
    United States and its offices and agencies shall submit a motion or answer to the complaint within 35 days.

                     Steven T. Salata, Clerk
                     U.S. BANKRUPTCY COURT
                     401 West Trade Street
                     Charlotte, NC 28202

    At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney:


                     A. Burton Shuford
                     4700 Lebanon Road,
                     Suite #A−2
                     Mint Hill, NC 28227


    If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

    IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
    CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
    DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


    Date of Issuance: 10/15/2018                                 s/ Steven T. Salata
                                                                     Clerk of the Bankruptcy Court

Electronically filed and signed
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                                           CERTIFICATION OF SERVICE



I, ___________________________________(name), certify that service of this summons and a copy of

the complaint was made on ___________________ (date) by:


  Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:




  Personal service: By leaving the process with defendant or with an officer or agent of defendant at:




  Residence service: By leaving the process with the following adult at:




  Publication: The defendant was served as follows: (Describe briefly)




   State Law: The defendant was served pursuant to the laws of the State of ______________________________, as
follows: (Describe briefly)


If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.


                        Under penalty of perjury, I declare that the foregoing is true and correct.



     Date ________________                       Signature ___________________________________________
                Print Name :                        _________________________________________________
                Business Address :                  _________________________________________________
                                                    _________________________________________________
